                         UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



     SYLVESTER ALLEN, JR., DEJUANA
     BIGELOW,      TABATHA          DAVIS, and
     FUTURE ALAMANCE, on behalf of
     themselves and all others similarly situated,

                    Plaintiffs,                                    Case No. 1:20-cv-00997
     v.

     CITY OF GRAHAM, KRISTI COLE,
     individually and in her official capacity as
     Chief of the Graham Police Department,
     ALAMANCE         COUNTY,        TERRY     S.
     JOHNSON, individually and in his offic ia l
     capacity as Sheriff of Alamance County,
     GRAHAM POLICE OFFICERS JOHN and
     JANE DOES #1-15, and ALAMANCE
     COUNTY DEPUTY SHERIFFS JOHN and
     JANE DOES #16-30,

                    Defendants.


              DISCLOSURE OF CORPORATE, AFFILIATIONS AND OTHER
            ENTITIES WITH A DIRECT FINANCIAL INTEREST IN LITIGATION

           Future Alamance, who is a Plaintiff in the above-captioned action,
makes the following disclosures:

1.        Is party a publicly held corporation or other publicly held entity?

                  ( ) Yes                           (X) No

2.        Does party have any parent corporations?

                  ( ) Yes                           (X) No

          If yes, identify all parent corporations, including grandparent and great-grandparent
          corporations: N/A




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3.      Is 10% or more of the stock of a party owned by a publicly held corporation or other publicly
        held entity?

                (   ) Yes                         (X) No

        If yes, identify all such owners: N/A

4.      Is there any other publicly held corporation or other publicly held entity that has a direct
        financial interest in the outcome of the litigation?

                (   ) Yes                         (X) No

        If yes, identify entity and nature of interest: N/A


Dated November 12, 2020

                                                           Respectfully submitted,

/s/ Geraldine Sumter                                     Leah Aden*
Geraldine Sumter (NC Bar No. 11107)                      Natasha Merle*
Ferguson Chambers & Sumter, P.A.                         Ashok Chandran*
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* Application for appearance pursuant to Local Rule 83.1(d) forthcoming
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                                CERTIFICATE OF SERVICE

       I, Geraldine Sumter, hereby certify that on the 12th day of November, 2020, a true and

correct copy of the foregoing was filed on the Court’s CM/ECF filing system. An additional copy

was mailed to the following defendants, via certified mail with return receipt:

City of Graham
Graham City Attorney’s Office
201 South Main Street
Graham, NC 27253

Chief Kristi Cole
Graham Police Department
216 S. Maple St.
Graham, NC 27253

Sheriff Terry S. Johnson
Alamance County Sheriff’s Office
109 S. Maple St.
Graham NC 27253

Alamance County
Alamance County Attorney’s Office
124 W. Elm St.
Graham, NC 27253.


                                                         /s/ Geraldine Sumter      .

                                                        Geraldine Sumter




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